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ArAO 91 (Rev. 02/09) Criminal Complaint

United States District Court

for the
Western District of New York

United States of America
v. Case No. 22-MJ- 4036

TYRONE JENKINS,

Defendants.

CRIMINAL COMPLAINT

I, Andrew J. Farnham __, the complainant in this case, state that the following is true to the best of my

knowledge and belief.

The defendant, on or about March 7, 2022, in the City of Rochester, County of Monroe, Western District of New
York, a previously convicted felon, possessed a firearm and ammunition, in violation of Title 18, United States Code,

Section 922(g)(1).

This Criminal Complaint is based on these facts:

SEE ATTACHED AFFIDAVIT OF ANDREW J. FARNHAM, SA, ATF
& Continued on the attached sheet.

ZZ. QC —

Complainant’s signature

ANDREW J. FARNHAM, SA, ATF

Printed name and title

Affidavit submitted electronically by email in .pdf format.
Oath administered, and contents and signature, attested
to me telephonically pursuant to Fed. R. Crim. P. 4.1 and
4 (d) on March 25, 2022.

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Judge’ s fignature

HONORABLE MARIAN W. PAYSON
City and State: Rochester, New York UNITED STATES MAGISTRATE JUDGE

Printed name and title
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA
- V -
22-MJ- 4036
TYRONE JENKINS,

Defendant

STATE OF NEW YORK _)
COUNTY OF MONROE ) SS:
CITY OF ROCHESTER _ )

AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT

I, Andrew Farnham, being duly sworn, depose and state as follows:

1 Your affiant is a Special Agent (SA) with the United States Department
of Justice, Bureau of Alcohol, Tobacco, Firearms and Explosives (ATF), assigned to
the New York Field Division, Rochester Field Office. Your affiant is a graduate of
the Criminal Investigator Training Program and the ATF National Academy, both
located at the Federal Law Enforcement Training Center in Glynco, Georgia. Your
affiant has been employed as a Special Agent since February 2019. Prior to being
employed as a Special Agent, your affiant was employed as a United States Border
Patrol Agent beginning in 2008 in Ogdensburg, New York until February of 2019. In
August 2021 your affiant completed the Firearms Interstate Nexus Training Course in
Martinsburg, West Virginia. As part of your affiant’s professional experience, affiant

has participated in state and federal investigations involving the illegal possession of
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firearms and narcotics, narcotics trafficking, and other violations of federal and state

law.

PURPOSE OF AFFIDAVIT

Ze This affidavit is submitted in support of a criminal complaint charging
Tyrone Jenkins with a violation of Title 18, United States Code, Section 922(g)(1)

(previously convicted felon in possession of firearms).

3. As more fully described below, the facts in this affidavit are based on a
combination of my personal participation in this investigation, review of reports
involving this investigation, and conversations with other law enforcement officers
involved in this investigation. Since this affidavit is being submitted for a limited
purpose, I have not included each and every fact that I know concerning this
investigation. Rather, I have set forth only those facts that relate to the issue of whether

probable cause exists to believe that Jenkins committed the listed offenses.

PROBABLE CAUSE

4. On March 7, 2022, at approximately 1:23 a.m., patrol officers with the
Rochester Police Department (RPD), were dispatched to the area of 24 Orange Street
in the city of Rochester, New York for a report of shots fired. 911 dispatch further
relayed that a vehicle had been struck with gunfire. Upon arriving on Orange Street,
two patrol officers encountered a female named Leona Scott hiding around the corner
at 10 Orange Street. Scott relayed to Ofc. Costello that an individual named Tyrone

Jenkins had shot her vehicle and was now inside his residence at 24 Orange Street.
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a Ofc. Costello also observed an individual identified as Andre Collier
standing in the street in front of 24 Orange Street. Collier was directed back to a safe
location. Both Scott and Collier were interviewed. In sum and substance, they
indicated that it was Collier’s birthday and they had stopped over to see Jenkins, who
is Collier’s cousin. They stated that Jenkins resides at 24 Orange Street with his
girlfriend. At some point in the evening, an altercation occurred between Jenkins and
Collier, and continued to escalate. Ultimately, as both Scott and Collier were seated
in Scott’s Lexus vehicle outside the residence, Jenkins exited the residence at 24
Orange Street and began firing at them with a black handgun, striking the vehicle at
least five times. Collier explained that Jenkins then retreated inside 24 Orange Street,
only to come back outside shortly thereafter, resulting in a physical altercation between
Jenkins and Collier. Jenkins then returned inside 24 Orange Street and the police were
called.

6. The area around 24 Orange Street was subsequently placed in lock
down. Ofc. Costello and Ofc. Couch attempted to contact Jenkins numerous times
through loudspeaker and telephonically. He refused to exit. Ultimately, a search
warrant was obtained and executed by the RPD Swat Team. At approximately 6:45
a.m., Jenkins was taken into custody inside the residence. When Jenkins was taken
into custody, he possessed a black bookbag containing a zip lock bag of suspected
marijuana and $9,010 in cash. Jenkins was thereafter transported to the Eastside
Division on North Clinton Avenue. Once the area was safe, officers were also able

to confirm five bullet holes in the Lexus, and located 9mm casings in the front yard.

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7. After Jenkins was apprehended, a search was conducted at the
residence. During the search, officers located several firearms and a large amount of
ammunition, as well as a body armor vest. Specifically, officers located:

(a) In the front living room, one (1) Intratech Tec-9 9mm caliber handgun
bearing serial number D004356, loaded with 25 rounds in a 30-round
magazine;

(b) Ina closet off the living room, one (1) Areo Precision Model X15 .223
caliber rifle, serial number X010031, loaded with 26 rounds;

(c) Inthe same closet, one (1) Bohica M-16 with a defaced serial number; and
one (1) Windham Weaponry Model WW-15 rifle, bearing serial number
WW259217.

(d) Ina dresser drawer, directly next to the closet where the three rifles were
located, officers located a black bag containing six (6) 30 round .223 caliber
magazines, four of which were loaded with 22, 23, 21 and 30 rounds of .223
caliber ammunition, respectively.

(e) Inthe same dresser, one (1) ten round .223 caliber magazine, two (2) fifty
count boxes of Remington 9 mm ammunition, and a 150 count box of .223
caliber ammunition.

(f) One (1) bullet proof vest, which also held a 30 round .223 caliber magazine
with 27 live .223 caliber rounds.

(g) Identification in the name of Tyrone Jenkins.
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(h) A home security system which, among other things, captured the

shooting.

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PRIOR FELONY CONVICTIONS

8. In connection with this investigation, your affiant has reviewed Jenkins’

criminal history, which reflects the following felony convictions:

- On August 15, 2002, in Monroe County Court, convicted of Criminal
Possession of Controlled Substance 5™ Degree, a class D Felony, and
sentenced to 1 year.

- On June 3, 2009, in Monroe County Court, convicted of Aggravated
Unlicensed Operation 1": 10/ More suspensions, a class E Felony, and
sentenced to 1 years to 3 years concurrent imprisonment.

- On December 9, 2015, in Monroe County Court, convicted of Aggravated
Unlicensed Operation 1%: 10/ More suspensions, a class E Felony, and

sentenced to Time Served.

INTERSTATE NEXUS

9. Your affiant currently serves as an ATF Interstate Nexus Expert. I have
had the opportunity to personally inspect each of the firearms described in {| 6 (a)-(c),
above. Based on my training and experience, I can state that none of the firearms were
manufactured in the state of New York. Accordingly, their presence in Rochester,

New York indicates they necessarily traveled in interstate commerce.
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CONCLUSION

10. Based on the above information, your affiant submits that probable
cause exists to believe that Tyrone Jenkins has violated Title 18, United States Code,

Section 922(g)(1) (previously convicted felon in possession of a firearm and

ANDREW J. FARNHAM

Special Agent

Bureau of Alcohol, Tobacco, Firearms and
Explosives

ammunition).

Affidavit and Criminal Complaint submitted
electronically by e-mail in .pdf format. Oath
administered, and contents and signature, attested
to me as true and accurate telephonically pursuant
to Fed.R.Crim.P. 4.1 and 4(d) on March _25 _, 2022.

Marian W “Pay SM
HONORABLE MARIANIW. PAYSON
United States Magistrate Judge

